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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11
In re:
Case No. 14-10979 (CSS)
Energy Future Holdings Corp., et al.,
(Jointly Administered)
Debtors. '

ORDER ESTABLISHING DISCOVERY PROCEDURES IN CONNECTION WITH
LEGACY DISCOVERY OF ENERGY FUTURE HOLDINGS CORPORATION, ITS
AFFILIATES, AND CERTAIN THIRD PARTIES AND OTHER RELATED MATTERS

Energy Future Holdings Corp. (“EFHC”) and certain of its affiliated debtors (collectively
the “Debtors”) commenced these cases on April 29, 2014 (the “Petition Date”), by filing
voluntary petitions for relief under chapter 11 of the Bankruptcy Code. On the Petition Date,
Wilmington Savings Fund Society, FSB (“WSFS”), as successor trustee under that certain
indenture, dated as of October 6, 2010 (as amended or supplemented), among Texas Competitive
Electric Holdings, LLC (“T'CEH”), TCEH Finance, Inc., the guarantors party thereto, and The
Bank of New York Mellon Trust Co., N.A., as trustee (as amended or supplemented), filed a
motion pursuant to Section 105(a) of the Bankruptcy Code and Bankruptcy Rule 2004 for
authorization to conduct certain discovery of the Debtors. Other parties, including, the Official

Committee of Unsecured Creditors (“Creditors’ Committee”), other constituent parties and the

U.S. Trustee, have or may seek other discovery with respect to the Debtors’ bankruptcy cases

and issues related thereto.

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of

the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
Chapter |] cases, which are being jointly administered on an interim basis, a complete list of the debtors and the last
four digits of their federal tax identification numbers is not provided herein. A complete list of such information
may be obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

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The Court hereby finds that it would be in the best interests of the Debtors and all
interested parties that any Legacy Discovery (as defined herein) and other related matters be
conducted in an efficient, expeditious and orderly manner. A separate order concerning plan
confirmation issues or other issues not involving the scope of discovery set forth herein may be
submitted to the Court for consideration at an appropriate time. Accordingly, it is hereby

ORDERED:

1. Scope of Order.

Except as otherwise ordered by the Court, this Order shall, consistent with Bankruptcy
Rule 2004(b), control any and all discovery by the Debtors and any Participants (defined herein)
in connection with the subjects of discovery sought in connection with (i) the Motion of
Wilmington Savings Fund Society, FSB, for Leave to Conduct Discovery Pursuant to the Federal
Rules of Bankruptcy Procedure of Energy Future Holdings Corporation, its Affiliates, and
Certain Third Parties, filed on April 29, 2014 (ECF No. 6), (ii) the Limited Joinder of the Ad
Hoc Group of TCEH Unsecured Noteholders to the Motion of Wilmington Savings Fund Society,
FSB, for Leave to Conduct Discovery Pursuant to the Federal Rules of Bankruptcy Procedure of
Energy Future Holdings Corporation, its Affiliates, and Certain Third Parties, filed on April 30,

2014 (ECF No. 226) and the supplemental requests set forth below (collectively, “Legacy

Discovery”):

A. Any alleged mismanagement of the Debtors prior to the Petition Date;

B. Any alleged conflict of interests of the Debtors’ senior management prior to the
Petition Date;

C. Any alleged prepetition efforts of the Debtors’ senior management, for the benefit

of holders of first lien debt, including but not limited to debt issued by TCEH, to
affect enterprise value in advance of filing these Chapter 11 Cases:

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Dz. Any prepetition Inter-Debtor claims, including but not limited to any claims by
Energy Future Competitive Holdings Company LLC (“EFCH”) and/or any of the
TCEH Debtors (i.e., EFCH, TCEH, and TCEH’s direct and indirect subsidiaries)
arising from the transfer of Oncor and the 2007 leveraged buyout;

E, Any alleged fraudulent transfer or preferences with respect to prepetition
transactions between Debtors;

F, Any prepetition conduct by, or transfers to, the direct or indirect equity owners of
EFHC or associated management companies or individuals;

G. The Debtors’ practices and procedures for conducting prepetition allocations
pursuant to any tax allocation agreements, including but not limited to the Federal
and State Income Tax Allocation Agreement Among the Members of the Energy
Future Holdings Corp. Consolidated Group;

H. The prepetition allocation of overhead among any of the Debtors or their affiliated
companies;
I. The Debtors’ prepetition negotiation of and performance under any shared

services agreements, including but not limited to the Shared Services Agreement
between TCEH LLC and EFH Corporate Services Company, dated October 23,
2013 (including all prepetition amendments thereto or prior versions of any
shared services agreements), including transfers of value from any TCEH Debtor
to anon-TCEH Debtor pursuant to such agreement;

J. The prepetition representation of and negotiations on behalf of the Debtors,
including but not limited to the TCEH Debtors with respect to the Restructuring
Support Agreement, attached as Exhibit D to the First Day Declaration of Paul
Keglevic (ECF No. 98); and

K. The solvency of the Debtors prior to the Petition Date.

The Participants expressly agree that Legacy Discovery, as defined herein, does not include
discovery concerning or regarding the current enterprise valuation of the company. Nothing
herein shall prevent any Participant from filing a motion seeking to expand the scope of Legacy

Discovery.

Absent further order of this Court that this Order and the procedures hereunder shall
apply, this Order shall not affect the rights of the Debtors, any Participant, or any other party-in-

interest to seek discovery in connection with any other contested matters, or adversary

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proceedings in these chapter 11 cases, including but not limited to any discovery relating to
valuation in connection with any motion to value the company as a whole, or any of its
individual assets, or any secured party’s liens. The Order and procedures shall also not apply to
any discovery in connection with any challenges to the TCEH Debtors’ Stipulations as set forth
in the Final Order (A) Authorizing Use of Cash Collateral for Texas Competitive Electric
Holdings Company LLC and Certain of its Debtor Affiliates, (B) Granting Adequate Protection,
and (C) Modifying the Automatic Stay, dated June 6, 2014, or plan confirmation.
Notwithstanding the foregoing, the Participants shall not be permitted to obtain documents from
a producing party as part of any future plan confirmation discovery that have already been

produced as part of Legacy Discovery under this Order.

2. Participation in Discovery

(a) Any potential claimant or party-in-interest who intends to participate in the

Legacy Discovery (“Proposed Participant”), or any attorney acting on behalf of such Proposed

Participant, shall serve on the Debtors’ attorneys a completed “Notice of Intent,” the form of

which is attached hereto as Exhibit A. Each Notice of Intent must contain: (i) the name and
address of the creditor or party-in-interest (or in the case of a group, the names and addresses of
each of its members) and the name of the law firm(s) and individual attorneys representing such
creditor or party-in-interest or group of creditors or parties-in-interest; and (ii) at the option of
the Proposed Participant, either, (A) a list of all proof(s) of claim filed by the Proposed
Participant, provided there have not been any material changes to such proof(s) of claim since

their filing, or (B) a statement setting forth the then-known types and aggregate amount(s) of

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claim(s) currently held by such Proposed Participant as against each of the Debtors.” To be
eligible to participate in all stages of the Legacy Discovery, the Notice of Intent must be served
on the Debtors’ attorneys no later than seven (7) days after entry of this Order (the “Notice of

Intent Deadline”). A Proposed Participant, however, may serve a Notice of Intent at any time

prior to the close of Legacy Discovery. In the absence of an Order of the Court sustaining an
objection to a Notice of Intent (as described herein), a Proposed Participant timely serving a
Notice of Intent shall be deemed a “Participant.” For purposes of participation in Legacy
Discovery, “Participant” shall also include the Creditors’ Committee, the Ad Hoc Group of
TCEH Unsecured Noteholders, WSFS and the U.S. Trustee without the need to file a Notice of
Intent. “Participant” shall also include the attorneys and any advisors and any other

professionals for any Participant. “Debtor” shall include the attorneys and any advisors and any

other professionals for the Debtors and their affiliates.

(b) The Debtors, the Creditors’ Committee, and the U.S. Trustee shall, within ten (10)
days of the filing of any particular Notice of Intent, have the right to object to a Notice of Intent
on any and all grounds, including but not limited to objections that the Notice of Intent is
harassing, was served by persons that are not parties-in-interest, does not comply with the terms
of this Order, or does not demonstrate standing to participate in Legacy Discovery. Until the

Court rules on any such objection, the Proposed Participant shall not be deemed a Participant.

(c) Within seven (7) days of the Notice of Intent Deadline, the Debtors shall serve on
all Participants a list of such Participants and their attorneys, which will be the official service

list for Legacy Discovery (the “Official Service List”). The Debtors shall amend the Official

? No disclosures made under this provision shall be construed as a disclosure for the purposes of Bankruptcy Rule
2019,

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Service List, as necessary, from time to time, and shall serve the amended service lists on every
Participant on the Official Service List. Service in connection with Legacy Discovery shall be

by electronic mail.

(d) All Legacy Discovery shall be subject to and conducted in accordance with the
terms of the protective order, as set forth in the Debtors’ Motion for Entry of a Confidentiality
Agreement and Stipulated Protective Order, dated July 23, 2014 (Docket No. 1679), and which

will be attached hereto as Exhibit B (the “Protective Order”). By serving a Notice of Intent, all

Proposed Participants shall be deemed to have read and agreed to abide by the terms of the
Protective Order. Upon becoming a Participant, each Participant must provide the Protective
Order to any person that it employs or engages who is given access to Legacy Discovery.
Nothing in this paragraph shall limit the U.S. Trustee’s rights and obligations as described in

paragraph 25 of the Protective Order.

3. Discovery of Financial or Industry Advisors of the Parties. Each recipient of a

request for the production of documents shall produce documents on behalf of any financial or
industry advisor retained in connection with these chapter 11 cases by such recipient and/or
under the recipient’s control, to the extent such documents are responsive, non-privileged, and

discoverable, without the need for such advisor to be subpoenaed directly.

4, Debtors’ Initial Disclosures. No later than fourteen (14) days after the Notice of Intent

Deadline (unless an extension is reached by agreement of the Debtors and the Participants or

ordered by the Court), the Debtors shall make the initial disclosures set forth below.

(a) the name and, if known, the address and telephone number of each individual
likely to have discoverable information—along with the subjects of that
information—regarding the subjects in Paragraph 1(a)-(k);

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(b) The Debtors’ audited annual and quarterly financial statements for the years 2007
through the present.

The Debtors’ compliance with its initial disclosure obligations will in no way delay its obligation

to respond to discovery propounded by the Creditors’ Committee or the U.S. Trustee hereunder

or any other discovery that may be propounded by any party in connection with any other

contested matter or adversary proceeding.

5. Requested Document Discovery from Debtors and Non-Debtors.

(a) In order to avoid the service of multiple, duplicative document requests and the
attendant costs and other burdens imposed on the Debtors and Non-Debtors’ to respond to such
requests, no later than thirty (30) days after the entry of this Order, the Creditors’ Committee

shall serve separate sets of initial consolidated document requests (each, an “Initial Consolidated

Request” or collectively, the “Initial Consolidated Requests”) on any Debtor or Non-Debtor

target of discovery relating to Legacy Discovery pursuant to Rule 34 and 45 of the Federal Rules
of Civil Procedures, as incorporated by Rules 7034, 9014, and 9016 of the Federal Rules of

Bankruptcy Procedure.

(b) In preparation of the Initial Consolidated Requests, the Creditors’ Committee
shall act as a facilitator and intermediary with all Participants. Within fourteen (14) days after
the entry of this Order, each Participant, who qualifies as a Participant at that time, may provide
the Creditors’ Committee, and, in turn, shall simultaneously provide all other Participants, with a
preliminary suggested set of Initial Consolidated Requests for each proposed recipient of

requests for review and comment (each, a “Proposed Initial Document Request”).

> For the purposes of this Order, “Non-Debtors” include any Non-Debtor party including but not limited to any
Participants hereunder and indirect equity owners of EFHC and associated management companies.

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Simultaneously with providing each Proposed Document Request, Participants shall also provide
a preliminary suggested list of proposed search terms and strings that, in the reasonable
estimation of such Participant, is reasonably calculated to yield electronically stored information,
including without limitation e-mails and e-mail attachments (hereinafter collectively referred to
as “ESI”) responsive to the requests without being overbroad or unduly burdensome. The
Creditors’ Committee shall be responsible for finalizing the Initial Consolidated Requests by
incorporating the reasonable, non-duplicative requests contained in the Proposed Document
Requests, and conferring with all Participants who submitted Proposed Document Requests. To
the extent that any Participant (or its principals) is the target of the Initial Consolidated Requests,
that Participant shall not participate in the process of formulating or finalizing the Initial

Consolidated Requests directed to that Participant.

(c) All steps set forth in Paragraphs 5(a) — (b) of this Order shall be completed no

later than thirty (30) days after the entry of this Order.

(d) No Participant shall waive, or be deemed to have been prejudiced in any way,
with respect to, any of his/her rights and legal positions by submitting Proposed Document
Requests, including with respect to discovery arising in any contested matter or adversary

proceeding,

(e) In addition to the Debtors and Non-Debtors’ general obligation to make a
reasonable search for responsive documents within Shared sources or systems, the Creditors’
Committee, with the participation of the Participants, shall meet and confer with the Debtors and
Non-Debtor recipients of Initial Consolidated Requests regarding the list of custodians whose
individual files and emails will be searched in order to comply with the Initial Consolidated

Requests. Notwithstanding the foregoing meet and confer obligation, the Creditors’ Committee

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will retain the right to seek additional custodians beyond those initially designated, upon a
representation of good faith that such custodians are likely to possess material, non-privileged,
non-duplicative documents. A recipient of a request retains the right to oppose any request to

search a custodian’s data by seeking relief in accordance with Paragraph 14 herein.

(f) The Participants, through the lead of the Creditors’ Committee, shall also meet
and confer with the recipients of Initial Consolidated Requests to reach agreement on search
terms or other search approaches to be used for electronic searches of custodian files.
Notwithstanding prior agreement on the search terms or other search approaches to be used for
electronic searches, should a search produce an unreasonably large number of non-responsive or
irrelevant results, the Participants, through the lead of the Creditors’ Committee, shall (at the
producing party’s request) meet and confer to discuss application of further negative search
restrictions (e.g., if a single search was for “card” and ninety percent of the resulting documents
came from the irrelevant term “credit card,” a negative limitation to ignore documents only

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returned as a result of “credit card” may be applied to remove these documents) or other
limitations. The Participants will not unreasonably oppose such further restrictions designed to

filter immaterial or non-responsive search results.

(g) | Unless the time is extended by agreement or order of this Court, recipients of
Initial Consolidated Requests shall serve written objections and responses to the Initial
Consolidated Requests on the Participants no later than twenty-eight (28) days after receiving the
Initial Consolidated Requests. Thereafter, recipients of Initial Consolidated Requests shall begin
a rolling production of any non-privileged documents that are not subject to an objection made

by such recipients and that are responsive to the Initial Consolidated Requests that can be located

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after a reasonable search. Recipients of Initial Consolidated Requests shall begin searching for

and producing documents as expeditiously as is reasonably practical.

(h) Unless the time for compliance is extended by the Court or by agreement of and
among the Debtors and the Participants, recipients of Initial Consolidated Requests shall certify
to the Participants the substantial completion of their production of documents no later than sixty
(60) days after receipt of the Initial Consolidated Requests, and shall certify to the Participants
the full completion of their production of documents no later than eighty (80) days after receipt
of the Initial Consolidated Requests. Such timeline is premised on the fact that the Debtors have
not filed a plan of confirmation and to the extent any disclosure statement or plan of
confirmation is filed such timeline will be subject to modification as appropriate by the Court or

by agreement of and among the Debtors and the Participants.

(i) To the extent that a Participant seeks additional documents relating to Legacy
Discovery, such Participant shall so advise the Creditors’ Committee and all other Participants,
and the Creditors’ Committee shall accordingly meet and confer with such Participant. The
Creditors’ Committee shall have the authority to serve follow-up consolidated requests (“Follow-
Up Consolidated Requests’) for additional documents relevant to Legacy Discovery. Unless the
time is extended by agreement or order of this Court, recipients of Follow-Up Consolidated
Requests shall serve written objections and responses to the Follow-Up Consolidated Requests
on the Participants no later than twenty (20) days after receiving the Follow-Up Consolidated
Requests. Thereafter, recipients of Follow-Up Consolidated Requests shall begin a rolling
production of any non-privileged documents that are not subject to an objection made by such
recipients and that are responsive to the Follow-Up Consolidated Requests that can be located

after a reasonable search.

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(j) After conferring with the Creditors’ Committee, in the event that a Participant
seeks to serve its own additional document requests without the consent of the affected parties,
including the Debtors or the target of the discovery, such Participant may make an application to
the Court on appropriate notice pursuant to Rule 2004 for an order permitting such further

discovery.

6. Production Format Protocol. All documents and ESI produced by the Debtors or any

Non-Debtors in accordance with this Order shall be produced in conformance with the terms of

the e-discovery protocol attached as Exhibit C.

7. Data Repository and Review Tool.

(a) The Debtors shall upload all responsive documents produced under this Order, as
well as any other documents produced by the Debtors in these Chapter 11 cases, into a single

data repository (the “Data Repository”) on a rolling basis. The Debtors will also upload into the

Data Repository all documents produced by Non-Debtors under this Order as reasonably
practical. In the event the volume of such documents becomes overly burdensome, the Debtors
and the Committee shall meet and confer to discuss alternative methods or responsibilities for

uploading such documents.

(b) The Data Repository shall be housed in a Relativity review database (or review
database with equally robust functionality) and shall be maintained in a searchable form. The
database review tool shall also provide basic functions and features such as tagging, printing, and
downloading. The Debtors shall be responsible for the costs of housing the Data Repository.
Each Participant shall be responsible for the cost of its respective seat license(s) and
downloading from the Data Repository. The Data Repository shall be administered by a third-

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party service provider who will be responsible for ensuring that each Participant’s tagging and

searching in the Data Repository will not be available to other Participants.

8. Privilege Log.

(a) If any recipient of a discovery request withholds or redacts any documents on the
grounds of privilege, work product, or any other type of protection or immunity from disclosure,
that person shall provide the Participants with a privilege log consistent with Rule 26(b)(5) of the
Federal Rules of Civil Procedure, as incorporated by Bankruptcy Rules 7026 and 9014, or in
such other form as agreed by the Creditors’ Committee or authorized by the Court. Privilege
logs will be provided on a rolling basis, served on all Participants, and uploaded into the Data

Repository in a separately maintained section for privilege logs.

(b) The requesting parties and the producing parties are encouraged to agree upon
efficient means of providing information regarding claims of privilege. For example, when
asserting privilege on the identical basis with respect to multiple documents, it is presumptively
proper to provide the information required by Rule 26(b)(5) by group or category. A privilege
log that groups documents or otherwise departs from a document-by-document or
communication-by-communication listing is not objectionable solely on that basis, but may be
objected to if the substantive information required by Rule 26(b)(5) has not been provided in a

comprehensible form.

(c) Unless the time for compliance is extended by the Court or by agreement of and
among the Debtors and the Participants, recipients of Initial Consolidated Requests shall provide
all privilege logs no later than twenty-one (21) days after the substantial completion of their
production of documents in response to the Initial Consolidated Requests by such recipient.
Recipients of Follow-Up Consolidated Requests or other document requests under this Order

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shall provide all privilege logs no later than twenty-one (21) days after the substantial completion

of their production of documents in response thereto.

(d) Any dispute with respect to the privilege logs that cannot be resolved in good

faith consultation may be presented to the Court by letter in accordance with Paragraph 14.

9. Limitations on Interrogatories. Unless otherwise ordered by the Court, interrogatories
shall be restricted to those seeking names of witnesses with knowledge of information relevant to
the subject matter of the action, and the existence, custodian, location and general description of
relevant documents, including pertinent insurance agreements, and other physical evidence, or
information of a similar nature. Interrogatories other than those seeking information described in
the preceding sentence may only be served (1) if they are a more practical method of obtaining
the information sought than a request for production or a deposition, or (2) if ordered by the

Court.

10. Request for Admissions. Without leave of the Court upon a specific showing of good

cause, Requests for Admission shall not be allowed in connection with the Legacy Discovery.

11. Depositions of Debtors and Non-Debtors.

(a) The Creditors’ Committee may, from time to time and subject to the limitations
set forth below, serve: (i) Notices for Deposition upon the Debtors, pursuant to Rule 30(b)(6) of
the Federal Rules of Civil Procedure, as incorporated by Bankruptcy Rules 7030 and 9014,
(ii) deposition subpoenas upon Non-Debtors pursuant to Rule 30(b)(6) and Rule 45 of the
Federal Rules of Civil Procedure, as incorporated by Bankruptcy Rules 7030, 9014, and 9016,
and (ili) deposition subpoenas and/or notices of deposition on specific fact witnesses, whether

associated with the Debtors or Non-Debtors, pursuant to Rule 30(b)(1) and Rule 45 of the

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Federal Rules of Civil Procedure, as incorporated by Bankruptcy Rules 7030, 9014, and 9016,
seeking deposition testimony within the scope of discovery covered by this Order (the “Joint
Notices”). The Joint Notices may be allocated at the Participants’ discretion, through the
coordination of the Creditor’s Committee, but without further court order, Participants shall not
take more than forty (40) depositions in total from Debtors and Non-Debtors regarding Legacy
Discovery topics, excluding any depositions of the Debtors pursuant to Rule 30(b)(6) of the
Federal Rules of Civil Procedure, as incorporated by Bankruptcy Rules 7030 and 9014, pursuant
to subpart 11(a)(i) above. To the extent the number of Joint Notices for depositions of the
Debtors pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure, as incorporated by
Bankruptcy Rules 7030 and 9014, becomes excessive, overly burdensome, or is otherwise
inconsistent with the spirit of this agreement, the Debtors reserve the right to seek relief from the

Court as necessary or appropriate.

(b) In preparation of the Joint Notices, the Creditors’ Committee shall act as a
facilitator and intermediary. Within twenty-one (21) days after the entry of this Order, each
Participant may provide the Creditors’ Committee, and, in turn, shall simultaneously provide all

other Participants, with a proposed set of Joint Notices (each, “Proposed Joint Notices”). The

Creditors’ Committee shall be responsible for finalizing the Joint Notices by incorporating the
reasonable, non-duplicative topics contained in the Proposed Joint Notices, and conferring with
all Participants who submitted Proposed Joint Notices to narrow the proposed list of deponents to
comply with Paragraph 11(a). To the extent that any Participant (or its principals) is the target of
a Joint Notice, that Participant shall not participate in the process of formulating or finalizing the

Joint Notice directed to that Participant.

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(c) Within seven (7) business days of receiving the Joint Notices (unless extended by
agreement of the Debtors and the Participants or further order of the Court), recipients of Joint
Notices shall serve any responses and objections to the Joint Notices, together with a list of
designated witnesses for each of the noticed Rule 30(b)(6) topics to which the recipients do not
object, and the dates and locations when such witnesses will be made available to be deposed.
The Creditors’ Committee, with the participation of the Participants, shall meet and confer with
the Debtors and Non-Debtor recipients of Joint Notices to resolve any disputes regarding the
Joint Notices. The Creditors’ Committee shall coordinate with the Participants and recipients of
Joint Notices regarding the conduct and timing of the depositions. All Participants shall be
entitled to attend the depositions and may cross-examine the deponents subject to the time

constraints set forth in Paragraph 11(d) of this Order.

(d) Absent order of the Court, no person, other than an individual designated under
Rule 30(b)(6) of the Federal Rules of Civil Procedure, shall be deposed more than once in
connection with Legacy Discovery under this Order in his or her individual capacity, and each
such deposition shall be limited to eight (8) hours. To the extent any individual is deposed in
connection with Legacy Discovery and noticed for deposition in discovery in connection with
the confirmation proceedings, the Committee shall meet and confer with the Deponent party to
ensure that such depositions do not overlap in substance or are not otherwise duplicative. Any
dispute with respect to the scope of any depositions that cannot be resolved in good faith

consultation may be presented to the Court by letter in accordance with Paragraph 14.

(e) Depositions under Rule 30(b)(6) of the Federal Rules of Civil Procedure shall

continue until completed and shall not be presumptively limited to eight (8) hours.

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(f) In the event that a Participant seeks to take additional depositions in connection
with the Legacy Discovery, such Participant may after consultation with the Creditors’
Committee make an application to the Court on appropriate notice pursuant to Rule 2004 for an

order permitting such further discovery.

12. Service_of Pleadings, Motions, Other Papers, and Discovery Requests and

Responses. All pleadings, motions, and other papers related to Legacy Discovery that are filed
are to be served electronically. In addition, the Debtors and all Participants agree to serve by e-
mail all discovery requests—in both .pdf and Word format—and written responses and other
papers that are not filed. If transmission of voluminous materials as an email attachment is
impractical, those materials shall be served by overnight delivery with the ability to “track”
deliveries and verify receipt. Unless received by 6 pm Eastern time, discovery requests will be

deemed received the next business day.

13. Third-Party Documents Received Pursuant_to Subpoena. Each Participant shall

produce or make available to the other Participants all materials obtained from third parties

pursuant to Rule 45 within five (5) business days of receiving such material from a third party.

14. Discovery Disputes. Any dispute with regard to discovery conducted under this Order
that cannot be resolved in good faith consultation may be presented to the Court by a letter from
the party seeking relief, with the Debtor, all Participants and any participating Non-Debtor party
copied. Unless otherwise agreed-to by the disputing parties, any response to the above letters
shall be made by letter to the Court delivered within five (5) business days after service of the
initial letter submission on the applicable parties. Except with prior leave of Court, no letter shall

exceed eight (8) pages in length, and no additional submissions will be permitted. Any recipient

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of a discovery request pursuant to this protocol retains the right to seek a protective order from

the Court in accordance with the applicable rules.

15. Use of Materials Produced. Absent further Order of the Court, no discovery or

information obtained pursuant to this Order may be introduced in evidence or otherwise
disclosed in any other matter or proceeding, other than during confirmation of these Chapter 11
cases and/or in other contested matters or adversary proceedings arising out of these Chapter 11
cases. Nothing in this paragraph will limit the use of discovery or information properly obtained

through discovery or otherwise in such other matters or proceedings.

16. Discovery by Debtors. Nothing herein shall preclude the Debtors from seeking

discovery regarding the matters at issue in the Legacy Discovery from any person to the extent
allowed under the Federal Rules of Civil Procedure and the Federal Rules of Bankruptcy

Procedure.

17. Deadlines. All deadlines stated herein shall be computed pursuant to Federal Rule of

Bankruptcy Procedure 9006.

18. No Legal Representation Implied by Participation. For the avoidance of doubt, neither

any provision of this Order nor the participation or activity by any attorney in any aspect of
Legacy Discovery (including, without limitation, the activity of an attorney for a Participant in
connection with the service of Initial or Follow-Up Consolidated Requests as contemplated by
Paragraph 5 of this Order) shall be deemed or construed to create an attorney-client relationship
between any attorney and any Participant, and no attorney participating in Legacy Discovery
shall have any duty or obligation to any Participant other than the represented Participant

indicated on the Notice of Intent served by such attorney.

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19. No Admissions. No statements made in this Order shall be construed as a finding of fact

by the Court nor as an admission of any claim or allegation by any of the Debtors or any

Participant of other Non-Debtor.

20. No Waiver of Conflicts. Nothing in this Order shall be deemed to ratify or waive any

conflict of interest that may exist with respect to the performance of the Debtors or any

Participant under this Order.

21. Jurisdiction. The Court shall retain jurisdiction over any matters related to or arising

from the implementation of this Order.

22. Confirmation Discovery. The Debtors and the Participants agree that, in connection

with any proposed plan of reorganization, they will negotiate in good faith regarding the
application of this discovery protocol to any discovery in connection with confirmation of any

such proposed plan (“Confirmation Discovery”), to use this discovery protocol as a model, and

to work to have a discovery protocol for Confirmation Discovery in place so that such discovery

can commence as soon as any disclosure statement is approved.

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CHRISTOPHER S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

Dated: Wilmington, Delaware
August 4 , 2014

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ny-1148279

